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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                               °""""'06-6068 5
                                                                                 r ri

  MARJORIE J . DUNPHY, on her own behalf
  and others similarly situated,

           Plaintiff,       o'6AN,

  V.
                                                                                                     c.s
  ADVANCED PHYSICIAN BILLING, INC.,
  a Florida corporation , JORGE E . PEREZ,
  individually, RICARDO J . PEREZ , individually,
  and MAYRA COSTA, individually,

           Defendants .




                                             COMPLAINT

       Plaintiff, MARJORIE J . DUNPHY ( hereinafter referred to as "Plaintiff'), was an employe e

  of Defendants, ADVANCED PHYSICIAN BILLING, INC. (hereinafter referred to as "APB"), a

  Flo rida corporation , JORGE E . PEREZ , RICARDO J . PEREZ, and MAYRA COSTA

  (collectively, hereinafter referred to as "Defend ants"), and brings this action , on behalf of herself

  and other employees and former employees of Defend ant similarly situated to her, for ove rtime

  compensation      and other relief under the Fair Labor Standards Act,                  as   amended,

  29 U.S .C. § 216(b), (hereinafter referred to as the "FLSA") an d for the payment of unpaid

  wages.




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                                                Parties

      1 . Plaintiff is an individual, sui juris, and a resident of Broward County, Florida wh o

  performed work as data entry personnel for APB in Miami-Dade and Broward Counties, Florida .

      2. The additional persons who may become Plaintiffs in this action are hourly-paid

  employees or former employees who held positions of data entry personnel, and who worked in

  excess of forty (40) hours during one or more work weeks on or after May, 2003 .

      3 . Defendant, APB, is a Florida corporation that owns and operates a business whose

  principal office is located in Miami-Dade County, Florida and within the jurisdiction of this

  Court .

      4. At all times material hereto, JORGE E . PEREZ was and is an individual resident of

  the State of Florida who owns, manages, and/or operates APB, and who regularly exercised

  authority to hire and fire employees, determine the work schedules of employee, set the rate of

  pay of employees and control the finances and operations of APB . By virtue of such control and

  authority, JORGE E. PEREZ is an employer of Plaintiff(s) as such term is defined by the FLSA,

  29 U.S .C. 201, et seq .

      5. At all times material hereto, RICARDO J PEREZ was and is an individual resident of

  the State of Florida who owns, manages, and/or operates APB, and who regularly exercised

  authority to hire and fire employees, determine the work schedules of employee, set the rate of

  pay of employees and control the finances and operations of APB . By virtue of such control and

  authority, RICARDO J . PEREZ is an employer of Plaintiff(s) as such term is defined by the

  FLSA, 29 U.S.C . 201, et seq .

      6. At all times material hereto, MAYRA COSTA was and is an individual resident of

  the State of Florida who owns, manages, and/or operates APB, and who regularly exercise d




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  direct responsibility for th e supe rvision of Plaintiff(s). By virtue of such control and authority,

  MAYRA COSTA is an employer of Plaintiff(s) as such term is defined by the FLSA, 29 U .S.C.

  201, et seq .

                                          Jurisdiction and Venu e

      7. This action is brought to recover from Defendants overtime compensation, liquidated

  damages, and the costs and reasonable attorneys' fees under the provisions of the FLSA .

      8 . Jurisdiction is conferred on this Court by Title 28 U .S.C . § 1337 and by Title 29

  U.S.C. § 216(b) . At all times pertinent to this Complaint, Defendant, APB, was an enterprise

  engaged in interstate commerce . Based upon information and belief, the annual gross revenue of

  APB was in excess of $500,000 .00 per annum at all times material hereto .

      9 . In addition, this action is further brought to recover unpaid wages due and owing to

  Plaintiff, and for costs and reasonable attorneys' fees under Florida Statute Section 448 .08

  (2006) .

      10. Supplemental jurisdiction over this additional state law claim is conferred on this

  Court by Title 28 U .S.C . §1367(a) .

                                           General Allegation s

      11 . At all times pertinent to this complaint, Defendants failed to comply with Title 29

  U.S .C . § 201-09, in that Plaintiff and those similarly situated to Plaintiff performed services for

  Defendants for which no provisions were made by the Defendants to property pay Plaintiff for

  those hours worked in excess of forty (40) within a work week .

      12. Plaintiffs employment with Defendants provided for compensation at an hourly rate .

  Defendants failed to pay time and one-half wages for overtime hours worked . In one or more

  work weeks, Plaintiff worked in excess of forty (40) hours .




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      13 . In the course of employment with the Defend ants, Plaintiff and other similarly

  situation employees were not paid time and one-half of their regular rate of pay for all hours

  worked in excess of forty (40) hours per work week during one or more work weeks .

      14. In addition, pursuant to the terms of her employment, Plaintiff accrued numerous paid

  vacation days during her nine years of employment with APB . As of the completion of

  Plaintiff's employment with APB in March , 2006 , a significant number of those accrued paid

  vacation days remained unused by Plaintiff. Contrary to APB ' s policies and procedures, upon

  information and belief, Plaintiff w as not paid for any or all of her accrued, unused paid vacation

  days .

      15. The records , if any, concerning the number of hours actually worked by Plaintiff and

  all others similarly situated employees , the compensation actually paid to such employees, and

  Plaintiffs accrued, unused paid vacation days are in the possession and custody of the

  Defendants.

                                     COUNTI
                        RECOVERY OF OVERTIME COMPENSATION

      16. Plaintiff re-alleges an d re-avers all allegations in paragraphs 1 though 15 above .

      17. Plaintiff is entitled to be paid time and one-half of her regular rate of pay for each

  hour worked in excess of forty (40) hours per work week . All similarly situated employees are

  similarly owed their overtime rate for each overtime hour they worked and were not prope rty

  paid.

      18. By reason of the said intentional, willful and unlawful acts of Defendants, all

  Plaintiffs (Plaintiff and those similarly situated to her) have suffered damages plus incurring

  costs and reasonable attorneys' fees .




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      19. As a result of Defendants' willful violation of the FLSA, all Plaintiffs (Plaintiff and

  those similarly situated to her ) are entitled to liquidated damages .

      20. Plaintiff demands a jury trial.

      WHEREFORE, Plaintiff and those similarly situated to her who have or will opt into this

  action, demand judgment against Defendants, jointly and severally, ADVANCED PHYSICIAN

  BILLING, INC ., JORGE E . PEREZ, RICARDO J . PEREZ, and MAYRA COSTA, for the

  payment of all overtime hours at one and one-half their regular rate of pay due them for the hours

  worked by them for which they have not been properly compensated, liquidated damages and

  reasonable attorneys' fees and costs of suit, and such other and further relief as this Court deems

  appropri ate.

                                     COUNT II
                  RECOVERY OF PLAINTIFF 'S UNPAID WAGES FROM AP B

      21 . Plaintiff re-alleges and re-avers all allegations in paragraphs 1 though 15 above .

      22. Plaintiff is entitled to be paid at her regular hourly rate of pay for each eight (8 .0)

  hour day of unused paid vacation time accrued by Plaintiff during her employment with APB .

      23. Despite Plaintiff's formal demand for such payment, APB has failed and refused to

  pay any or all such amounts to Plaintiff in violation of the terms of her employment and APB's

  own policies and procedures .

      24. As a result , Plaintiff has suffered damages plus incurring costs and reasonable

  attorneys' fees in her efforts to collect those wages owed to her by APB .

      25. Plaintiff demands a jury trial .

      WHEREFORE, Plaintiff, MARJORIE J . DUNPHY, demands judgment against Defendant,

  ADVANCED PHYSICIAN BILLING, INC ., for the payment of all unused vacation days

  accrued by her during her employment at her regular rate of pay, reasonable attorneys' fees an d



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  costs pursuant to Florida Statute Section 448 .08 (2006), and for such other and further relief a s

  this Court deems appropriate.




         Dated this I(v    day of May, 2006 .




                                                The Law Office of
                                                DAVIS AND ROBINSON, P .A.
                                                Post O ffice Box 100
                                                (One East Broward Boulevard, Suite 700 - 33301)
                                                Fort Lauderdale , Florida 3330 2
                                                (954) 745-7630 ; Fax: (954) 745-763 4


                                                By .
                                                       Carrie Stolzer Robinson
                                                       Florida Bar No . 0354030
                                                       csrobinsonlaw@comcast.net




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 JS 4 4
 ( Rev . 12/96)
                                                                           CIVIL COVER SHEE .
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required fcr the use
of the Clerk of Court for the purpose of initiating the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM . )
1 . (a) PLAINTIFF S                                                                                        ..,DEFENDANTS                                             flovid~
                                                                                                                 VM~1C,F7D PH '~5101 MCI 81LL!TIG , INC V ► c3b 14 .
MARJoPIE J .Du NP I +'I , on human Ix, A'F IUD                                                               Cp r(7of2- h'~ , J oR,G E •E . ?E-g-ez ,     ' ►►-1 d `
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                                                                                                             K AA1 " c4:l  TA, '~nd'tvidkall~( .

    (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                 $rnWard                                  COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT,, M I

                           (EXCEPT IN U .S . PLAINTIFF CASES )                                                                               (IN U.S . PLAINTIFF CPr S ONLY)-


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                                                     tnt~   ENAGES
                                                               ~   .                                           NOTE : IN LAND CONDEMNATION CASES , L,l.$E THE LO6ATTON OF THE
                                                                                                                        TRACT OF LAND INVOLVED .


    (C) ATTORNEYS (FIRM NAME ADAEMS . D LEPHON'E NUMBER )                                                      ATTORNEYS ( IF KNOWN )
PM'S kND Roa 1Als3$ , P.  V.A
                            J4 .  (99 F7 745 lvk
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FORT L UpE -piiii E 1 1'".. 330 2                                                                           60 6 8 5
(d) CIRCLE COUNTY WHERE ACTION AROSE : DADE, MONROE, ROWARD, PALM BEACH, MARTIN ,                                                 ST. LUCIE,    INDIAN RIVER ,        OKEEGHOBEE HIb1-ILANDS

II . BASIS OF JURISDICTION                                  (PLACE AN X IN ONE BOX ONLY )           III . CITIZENSHIP OF PRINCIPAL PARTIES (PLACE P" IN ONE BOX FOR PLAINTIF F
                                                                                                       (For Diversity Cases Only) AND ONE BOX FOR DEFENDANT )
                                                                                                                                          PTF DEF PTF DEF
❑ 1 U .S . Government 3 Federal QuestionA
       Plaintiff (U .S . Government Not a Party)
                                                                                                        Citizen of This State             ❑ 1 ❑ 1 Incorporated or Principal Place ❑ 4 ❑ 4
                                                                                                                                                      of Business In This State
❑ 2 U .S . Government  ❑ 4 Diversity                                                                    Citizen of Another State          ❑2       ❑ 2 Incorporated and Principal Place ❑ 5                        ❑5
       Defendant (Indicate Citizenship of Parties                                                                                                          of Business In Another State
      r /x7 cIll
                                                                                                        Citizen or Subject of a ❑ 3                ❑3         Foreign Nation                               ❑6      ❑ 6
                                                                                                         Foreign Country

IV. ORIGIN                                                  &d&-;,W----fPLACE AN "X" IN ONE BOX ONO)                                                                 Appeal to District
                                                                                                                             Transferred from Judge fr om
    1 Original   ❑ 2 Removed from                           ❑ 3 Remanded from El 4 Reinstated o r                         ❑ 5 another district ❑ 6 Multidistrict ❑ 7 Magistrate
     P roceeding State Cou rt                                  Appe llate Court Reopened                                      (specify) Litigation Judgmen t
V. NATURE OF SUIT                         (PLACE AN "X" IN ONE BOX ONO)
         A CONTRACT                                            A TORTS                                   FORFEITURE/ PENALTY                     A BANKRUPTCY                          A OTHER STATUTE S
❑  110 Insurance                             PERSONAL INJURY PERSONAL INJURY                              B❑ 610 Agriculture                    ❑ 422 Appeal 28 USC 158            ❑400 State Reapportionment
❑  120 Marine                            ❑   310 Airplane             ❑ 362 Personal Injury               e❑ 620 Other Food & Drug                                                 ❑410 Antitrus t
❑  130 Miller Act                        ❑   315 Airplane Product Med Malpractice                         B❑ 625 Drug Related Seizure           ❑ 423 Withdrawal                   ❑430 Banks and Bankin g
❑  140 Negotiable Instrument                      Liability           ❑ 365 Personal Injury -                      of Property 21 USC 88 1            28 USC 157                  B❑450 Commerce/ICC Rates/etc
❑  150 Recovery of Overpayment           ❑   320 Assault , Libel &            Product Liabilit y          B❑ 630 Liquor Laws                                                       ❑460 Depo rt ati on
        & Enforcement of Judgment                Slander              ❑ 368 Asbestos Personal            80 640 R R & Truck                    A PROPERTY RIGHTS                   ❑470 Racketeer Influenced an d
 ❑ 151 Medicare Act                      ❑   330  Federal    Employers Injury Product Liability          B ❑ 650 Airline Regs                                                            Corrupt Organization s
3❑ 152 Recovery of Defaulted                      Liability                                              B ❑ 660 Occupational                   ❑ 620 Copyrights                  ❑ 810 Selective Servic e
        Student Loans                                                      PERSONAL PROPERT Y                    Safet .Healt h                 ❑ 830 Patent
                                         El 340 Marine                                                                                                                            ❑ 850 Exch            moditles/
         Excl Veterans :                                                                                               y                        ❑ 840 Trademark                           Exchang e
                                         ❑ 345 Marine Produce            ❑ 370 Other Fraud               BE] 690 Other
I D 153 P ecovery o f Overpaymen t             Liability                 ❑ 371 Trut h in Lendin g                                                                                  ❑ 875 C ust o mer Chall eng e
        of Veterans Benefits             ❑ 350 Motor Vehicle             ❑ 380 Other Personal                       A LABOR                    B SOCIAL SECURITY                          t2 USC 341 0
❑ 160 Stockholders Suits                 ❑ 355 Motor Vehicle Property Damage                                                                                                       ❑ 891 Agricultural Act s
G 190 Otner Contract                          Product L,addr El 385 Property Damage                            710 131, Labor Stan•:1ard ;      ❑ 861 HIA 1395ff                   ❑ 892 Economic Stabilization Ac t
❑ 195 Contract Product Liability         ❑ 360 Other Personal Injury Product Liability                             A= t                         ❑ 862 Black Lung t923 ,            ❑ 893 Environmental Matter s
                                                                                                               720 Labor rvgmr Relations        ❑ 863 DIWC DIWW 14051911           ❑ 894 En e rg y All ocat ion A c t
    A REAL PROPE RTY                       A CIVIL RIGHTS               PRISONER PETITIONS                                                      ❑ 864 SSID Title XVI               ❑ 895 Freedom o f
                                                                                                           ❑ 730 Labor ruomi Peponrno           ❑ 865 RSI (405(911                       Information Act
 ❑ 210 Lard Condemnation                 ❑ 441 young                    8 ❑ 510 Motions to Vacate                 & D isaosure Act                                                 ❑ 900 Appeal of Fee Determinatio n
313 220 Foreclosur e                     ❑ 442 Employmen t                      Sentenc e                  E. 740 Railway Labor Act            FEDERAL TAX SUITS                         Under Equal Access to Justic e
 E] 230 Rent Lease & Ejectment           0443 Housing,                      HABEAS CORPUS :
                                                                        B ❑ 530 General                                                                                            ❑ 950 Constitutionality of
 D 240 Tons to Land                            A ccommodations
                                                                        A ❑ 535 Death Penalty              ❑ 790 Other Labor Litigation                                                  State Statute s
 ❑ 245 Ton Product Liability             ❑ 444 Welfare                                                                                         A ❑ 870   Taxes S Plaintiff
                                                                        BD 540 Mandamus & Other                                                          o r or Defendant)         ❑ 890 Other Statuto ry Actions
 ❑ 290 All Other Real Property           ❑ 440 Other Civil Rights                                         aD 791 Empl Ret Inc
                                                                        B 550 Civil Rights                                                                               Part y    AOR B
                                                                                                                 Security Act                  A ❑ 871
                                                                        BE] 555 Prison Condition                                                         26 USCT7609

VI . CAUSE OF ACTION                         (CITE THE U S CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE
                                              DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY )

                                                                    29 U•5 . c-• 21 Le (b ) - "-n `09 lvrt Utii1'MD oVER-nME WA                                                           S
LENGTH OF TRIAL
via-S-days estimated (for both sides to try entire case )

VII . REQUESTED IN                                                                                         DEMAND $                                          CHECK YES only if demanded in complaint:
                                               CHECK IF THIS IS A CLASS ACTION
      COMPLAINT:                             ❑ UNDER FR .C .P 2 3                                                                                            JURY DEMAND :                  XYES              ❑ NO


VIII . RELATED CASE (S) (See instructions) :
                                                                     JUDG E                                                                        DOCKET NUMBER
       IF ANY
 DATE                                                                      SIGNATURE OF ATTORNEY OF RECOR D

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FOR OFFICE USE ONLY


                                                     lw-~~ APPLYING IFP
 RECEIPT                  21~9-I LOUNT                                                                             JUDGE                                               MAG . JUDGE
